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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,

          Plaintiff,

v.                                                             Cr. No. 24-20145-JTF

LISA J. FINDLEY,

         Defendant.


                 MOTION TO STRIKE REQUEST FOR BOND HEARING


       Comes now the defendant, Lisa Findley, by and through appointed counsel, Tyrone J.

Paylor, and moves this Honorable Court to strike her request for pretrial release filed January 16,

2025. She reserves the right to request a hearing on the issue of pretrial release at a later time.

       The Assistant United States Attorney assigned this matter was notified of this request to

Strike the Motion for Bond.

                                               Respectfully submitted,

                                               DORIS RANDLE-HOLT
                                               FEDERAL DEFENDER

                                               s/ Tyrone J. Paylor
                                               First Assistant Federal Public Defender
                                               200 Jefferson, Suite 200
                                               Memphis, TN 38103
                                               (901) 544-3895
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                                     CERTIFICATE OF SERVICE

         I hereby certify that a true copy of the foregoing was forwarded via the Court’s electronic
 filing system to the Assistant United States Attorney assigned this matter.

        This 22nd day of January 2025.

                                              s/ Tyrone J. Paylor
                                              First Assistant Federal Defender




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